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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al. *
                                   *
    Plaintiffs,                    *
                                   *
    v.                             *                Civil No. 8:21-cv-01967-TDC
                                   *
MONTGOMERY COUNTY, MD              *
                                   *
    Defendant                      *

                                     NOTICE OF REMOVAL

       Montgomery County, Maryland, by its undersigned counsel and pursuant to the Federal

Rules of Civil Procedure and 28 U.S.C. §§ 1441 and 1446, submits this Notice of Removal and in

support thereof states:

       1.      Plaintiffs Maryland Shall Issue, Inc., Engage Armament, LLC, Andrew Raymond,

Carlos Rabanales, Brandon Ferrell, Deryck Weaver, Joshua Edgar, Ice Firearms & Defensive

Training, LLC, Ronald David, and Nancy David (collectively “Plaintiffs”), commenced a civil

action in the Circuit Court for Montgomery County, Civil Case No. 485899V by filing a Complaint

on or about May 28, 2021.

       2.      Defendant timely removed the original Complaint on July 12, 2021 forming case

number 8:21-cv-01736-TDC. On February 7, 2022, Judge Chuang remanded Counts I, II, and III

for further proceedings in State Court and held Count IV in abeyance pending resolution of Counts

I, II, and III. See ECF 22 and 23.

       3.      Plaintiffs filed the First Amended Complaint on July 22, 2022 adding Count V and

alleging, for the first time, violation of the 2nd Amendment. Count V of the First Amended

Complaint forms the basis of the instant removal.




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       4.      This Court has original federal jurisdiction over this matter pursuant to 28 U.S.C.

§ 1331, in that Plaintiffs are alleging a violation of their rights under federal law. Specifically,

Plaintiffs allege violation of their rights under the Second Amendment to the United States

Constitution, the Due Process Clause of the Fourteenth Amendment to the United States

Constitution, and Plaintiffs further seek declaratory, injunctive, and monetary relief under 42

U.S.C. § 1983 and attorneys’ fees under 42 U.S.C. § 1988.

       4.      Copies of all process, pleadings, documents and orders which have been served

upon the Defendant are attached hereto. Pursuant to Local Rule 103.5, within thirty (30) days of

the filing of this Notice of Removal, Defendants will file true and legible copies of all other

documents then on file in the state court, together with a certification from counsel that all filings

made in the Circuit Court for Montgomery County, Civil Case No. 485899V, have been filed in

the United States District Court.

       5.      This Notice of Removal has been filed within thirty (30) days of the filing of the 1st

Amended Complaint asserting federal causes of action.

       6.      Montgomery County, Maryland is the sole defendant, and the consent of other

defendants is unnecessary.

       7.      Pursuant to the requirement of 28 U.S.C. § 1446(d), counsel for Defendant shall,

promptly after the filing of this Notice of Removal, give written notice to all adverse parties and

shall file a copy of this Notice with the Clerk of the Circuit Court for Montgomery County.

       WHEREFORE, for the foregoing reasons, Defendant, Montgomery County, Maryland in

the above-captioned action requests that this action now pending in the Circuit Court for

Montgomery County be removed to the United States District Court for the District of Maryland.




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                                                Respectfully submitted,

                                                JOHN P. MARKOVS
                                                ACTING COUNTY ATTORNEY

                                                               /s/
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                                                patricia.kane@montgomerycountymd.gov

                                                              /s/
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                                                               /s/
                                                Sean C. O’Hara
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                                                101 Monroe Street, Third Floor
                                                Rockville, Maryland 20850
                                                (240) 777-6700

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 8th day of August 2022, a copy of the foregoing, was

electronically filed with notice to:

       Mark Pennak, Esquire
       Maryland Shall Issue, Inc.
       9613 Harford Road, Suite C1015
       Parkville, MD 21234


                                                             /s/
                                                Sean C. O’Hara
                                                Associate County Attorney




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